CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 1 of 10


                                      20-mj-899 KMM
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 2 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 3 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 4 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 5 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 6 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 7 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 8 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 9 of 10
CASE 0:21-cr-00040-SRN-BRT Doc. 1-1 Filed 12/14/20 Page 10 of 10
